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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                         MDL NO. 2924
   PRODUCTS LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

  THIS DOCUMENT RELATES TO: ALL CASES

                                     PRETRIAL ORDER # 61
                            Order on Second Round of Motions to Dismiss

         On March 1, 2021, the Court issued a paperless Order setting the briefing schedule for

  responsive motions directed to the Amended Master Personal Injury Complaint (“AMPIC”)

  [DE 2759, 2760], the Consolidated Amended Consumer Economic Loss Class Action Complaint

  [DE 2835, 2837], and the Consolidated Medical Monitoring Class Action Complaint [DE 2832-1,

  2833]. DE 2892. The Court elicited a joint submission from the parties on proposals for page

  limitations and structure for the responsive motions. The Court has received and reviewed the parties’

  joint submission, a copy of which is attached to this Order. The Court now enters this Order regarding

  the next round of responsive motions.

         Upon consideration of the parties’ respective proposals in the joint submission, the Court

  adopts Defendants’ proposal for the categories of motions to be filed and the page limits for the

  briefing of each motion. The Court does so for two reasons. First, Defendants are in the best position

  to know the arguments that they intend make in their motions and the extent of briefing that those

  arguments will require. Second, the Court notes that, under the Federal Rules of Civil Procedure and

  the Local Rules for the Southern District of Florida, a defendant is entitled to file a 20-page responsive

  motion to a complaint. While Defendants propose more motions and larger page limits than Plaintiffs

  propose, Defendants’ proposal is certainly a more efficient approach than a scenario where Plaintiffs
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  would be required to respond to and the Court would be required to rule on a 20-page responsive

  motion from each of the dozens of Defendants named in this litigation.

         Therefore, the Court adopts the following approach for the motion categories and page limits:

                                              Motion            Response              Reply

      Omnibus motion to dismiss on
      behalf of all Defendants directed      45 pages            45 pages           23 pages
      to the AMPIC

      Omnibus motion to dismiss on
      behalf of all Defendants directed      40 pages            40 pages           20 pages
      to the two Master Class
      Complaints

      Brand Manufacturer Defendants’
                                             20 pages            20 pages           10 pages
      collective motion on pre-emption
      directed to all Master Complaints

      Brand Manufacturer Defendants’
                                             20 pages            20 pages           10 pages
      collective motion directed to the
      RICO claim

      Brand Manufacturer Defendants’
      collective motion directed to          20 pages            20 pages           10 pages
      Plaintiffs’ “innovator liability”
      theory

      Generic Manufacturer
      Defendants’ collective motion on       35 pages            35 pages           18 pages
      pre-emption directed to all
      Master Complaints

      Retailer Defendants’ collective
      motion to dismiss for failure to       20 pages            20 pages           10 pages
      state a claim directed to all
      Master Complaints

      Distributor Defendants’
      collective motion to dismiss for
      failure to state a claim directed to
                                             20 pages            20 pages           10 pages
      all Master Complaints




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       Store Brand Defendants’
       collective motion to dismiss for
                                                        20 pages                20 pages               10 pages
       failure to state a claim directed to
       all Master Complaints

       Foreign Defendants’ collective
                                                        20 pages                20 pages               10 pages
       motion challenging personal
       jurisdiction

       Defendants’ collective motion on
                                                        25 pages                25 pages               13 pages
       personal jurisdiction, venue, and
       Lexecon issues 1


           Under Rule 7.1(c)(2) of the Local Rules for the Southern District of Florida, title pages

  preceding the first page of text, tables of contents, tables of citations, “request for hearing” sections,

  signature pages, certificates of good faith conferences, and certificates of services shall not be counted

  toward the above page limits.

           Per the Court’s paperless Order at docket entry 2892, the deadline for Defendants to file all of

  the above responsive motions is March 24, 2021. The Court amends its Order regarding the response

  and reply deadlines as follows: Plaintiffs shall file responses to the following motions by April 23,

  2021: (1) Brand Manufacturer Defendants’ collective motion on pre-emption directed to all Master

  Complaints; (2) Brand Manufacturer Defendants’ collective motion directed to the RICO claim;

  (3) Brand Manufacturer Defendants’ collective motion directed to Plaintiffs’ “innovator liability”

  theory; (4) Generic Manufacturer Defendants’ collective motion on pre-emption directed to all Master

  Complaints; (5) Foreign Defendants’ collective motion challenging personal jurisdiction;

  (6) Defendants’ collective motion on personal jurisdiction, venue, and Lexecon issues. The deadline

  for Defendants to file replies to these motions is May 7, 2021.




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    The parties have represented to the Court that they continue to negotiate on the issues to be raised in this motion, such
  that the issues may be resolved and the motion may become unnecessary.

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         Plaintiffs shall file responses to the following motions by May 7, 2021: (1) Omnibus motion

  to dismiss on behalf of all Defendants directed to the AMPIC; (2) Omnibus motion to dismiss on

  behalf of all Defendants directed to the two Master Class Complaints; (3) Retailer Defendants’

  collective motion to dismiss for failure to state a claim directed to all Master Complaints;

  (4) Distributor Defendants’ collective motion to dismiss for failure to state a claim directed to all

  Master Complaints; (5) Store Brand Defendants’ collective motion to dismiss for failure to state a

  claim directed to all Master Complaints. The deadline for Defendants to file replies to these motions

  is May 21, 2021.

         The motions shall not incorporate by reference briefing from any prior motions, nor shall the

  motions incorporate by reference briefing in other motions filed in this round of motions. The parties’

  briefing shall not be in the form of summary charts or appendices. Any state-specific analysis shall

  be contained within the above page limits.

         Defendants have represented to the Court that they may not raise all of their state-specific

  arguments in this round of motions, but rather may focus on certain predominant state-law issues.

  The parties agree that, to the extent that Defendants elect to brief certain state-specific issues in this

  round of motions, Plaintiffs need only respond and the Court need only rule on the issues raised. To

  the extent that other state-specific issues become relevant at a later stage of the litigation, such as at

  the bellwether trial stage, the parties agree that they may seek leave of the Court to raise the issues at

  that time.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 5th day of March, 2021.




                                                 ROBIN L. ROSENBERG
                                                 UNITED STATES DISTRICT JUDGE


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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                      MDL NO 2924
    PRODUCTS LIABILITY                                                               20-MD-2924
    LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

    __________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES

                   JOINT NOTICE REGARDING PROPOSED STRUCTURE
                  AND PAGE LIMITS FOR RULE 12 MOTIONS TO DISMISS

           Pursuant to the Court’s paperless Order entered on March 1, 2021 [DE 2892], Plaintiffs’

    Co-Lead Counsel and Defendants’ Co-Lead Counsel respectfully submit their respective positions

    on the proposed structure and page limitations for the motions to dismiss. See Exhibits A and B.

    Plaintiffs’ Co-Lead Counsel and Defendants’ Co-Lead Counsel exchanged our respective

    proposals and met and conferred thereafter. While we were unable to reach agreement, the

    attached submissions outline our respective proposed structures and page limitations and respond

    to the other side’s differing position. We are available to appear before Your Honor should the

    Court have any questions or wish to discuss the competing proposals.

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           EXHIBIT A
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           PLAINTIFFS’ PROPOSED STRUCTURE AND PAGE LIMITS FOR ROUND 3
            MOTIONS TO DISMISS AND RESPONSE TO DEFENDANTS’ PROPOSED
            STRUCTURE AND PAGE LIMITS FOR ROUND 3 MOTIONS TO DISMISS

              Introduction.    In July 2020, following the filing of the initial Master Complaints,

    Defendants proposed a briefing process for Rule 12 motions, broken into Rounds 1 and 2, with

    staggered deadlines for motions, oppositions and replies. The Court adopted Defendants’ proposal

    and entered PTO # 36 [DE 1346], under which Defendants were authorized to file seven (7)

    memoranda on August 24 addressing preemption, Article III standing, and shotgun pleading, plus

    four (4) additional memoranda 45 days later addressing other issues.1 The staggered schedule for

    Rounds 1 and 2 afforded Plaintiffs’ law and briefing team adequate time to research and draft

    oppositions to the issues raised in the 11 complex and lengthy memoranda of law.

              Plaintiffs’ Proposed Structure and Page Limits. Plaintiffs’ proposed structure for

    Round 3 provides for three (3) omnibus Rule 12 motions, plus one (1) omnibus personal

    jurisdiction motion, as follows:

                 •   Omnibus Rule 12 motion by all Defendants directed against the Amended Master

                     Personal Injury Complaint [DE 2759], raising any and all Rule 12 issues and

                     organized as Defendants decide. Proposed page limit – 50 pages for motion and

                     opposition, and 25 pages for reply;

                 •   Omnibus Rule 12 motion by all Defendants directed against the Consolidated

                     Amended Consumer Economic Loss Class Action Complaint [DE 2835], raising

                     any and all Rule 12 issues and organized as Defendants decide. Proposed page

                     limit – 50 pages for motion and opposition, and 25 pages for reply;




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        The Court subsequently ordered the parties to brief additional issues.
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               •   Omnibus Rule 12 motion by all Defendants directed against the Consolidated

                   Medical Monitoring Class Action Complaint [DE 2832.1], raising any and all Rule

                   12 issues and organized as Defendants decide. Proposed page limit – 50 pages for

                   motion and opposition, and 25 pages for reply; and

               •   Omnibus Rule 12(b)(2) personal jurisdiction motion by non-U.S. Defendants that

                   were previously served and have not entered into stipulations with Plaintiffs, raising

                   any and all Rule 12(b)(2) personal jurisdiction issues and organized as Defendants

                   decide. Proposed page limit – 20 pages for motion and opposition, and 10 pages

                   for reply.

             Plaintiffs’ proposed structure would result in a total of 170 pages for motions, 170 pages

    for oppositions, and 85 pages for replies, for a combined total of 425 pages of briefing. Plaintiffs’

    structure is consistent with PTO # 36, which envisioned that Defendants’ Rule 12 motions would

    be directed to Amended Master Complaints, not divided up so Defendants could file multiple

    motions raising different issues (including issues raised in prior motions). See DE 1346 at 5.

    Furthermore, given that several of the issues outlined in Defendants’ proposed structure were

    thoroughly briefed during Rounds 1 and 2, including shotgun pleading, preemption and innovator

    liability, there is no reason to re-brief the black letter law for those issues during this next round.

    Instead, both sides should be permitted to incorporate by reference legal arguments presented

    during Rounds 1 and 2, where applicable for Round 3 motions.

           Plaintiffs’ Response to Defendants’ Proposed Structure and Page Limits. Defendants’

    proposed structure for Round 3 involves 10 separate motions filed on the same date, with a total

    of 260 pages for motions, 260 pages for oppositions, and 130 pages for replies, for a combined

    total of 650 pages of briefing. Two (2) motions would be brought on behalf of all Defendants, and




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    the other eight (8) motions would be brought on behalf of separate groups of Defendants (i.e.

    Brands, Generics, non-U.S. Defendants, etc.). Defendants contend that separate motions are

    appropriate because the groups are situated differently and, consequently, need to raise different

    arguments. There is no reason different Rule 12 arguments cannot be included in a single omnibus

    motion directed against each of the three Master Complaints. If the Court again allows each

    Defendant group to file separate Rule 12 motions, Defendants will contend that separate motions

    and briefing are necessary when it comes to Rules 23 and 56.

           In the event the Court adopts Defendants’ proposed structure and permits them to file 10

    separate motions, Plaintiffs urge the Court to limit each motion to the page limits provided under

    the S.D. Fla. Local Rules, which would result in 200 pages for motions, 200 pages for oppositions,

    and 100 pages for replies, for a combined total of 500 pages. Plaintiffs also request that the Court

    prohibit Defendants from circumventing the page limits by including briefing through charts and

    appendices.

           Finally, while Plaintiffs are confident of our ability to mount an effective opposition to the

    next round of Rule 12 motions, we respectfully ask the Court to recognize that our human resources

    are far more limited than the human resources deployed by the dozens of major national firms that

    represent the Defendants. Thirty (30) days is an insufficient amount of time to adequately respond

    to 10 complex and lengthy motions. Therefore, in the event the Court adopts Defendants’ proposed

    structure and permits the filing of 10 motions, we request that the Court stagger the deadlines for

    the filing of Defendants’ motions, Plaintiffs’ oppositions, and Defendants’ replies, similar to the

    45-day staggered deadlines used in Rounds 1 and 2, so Plaintiffs are afforded adequate time to

    address the complex arguments raised in each of the motions.




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            EXHIBIT B
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           DEFENDANTS’ PROPOSAL FOR BRIEFING ON MOTIONS TO DISMISS

            Defendants’ proposal generally mirrors the same overall structure the Court approved in

    PTO #36, which governed the prior round of Rule 12 motions. There is no reason to deviate

    from that structure, because, despite the opportunity to re-plead, there remain substantial defects

    in the Amended Master Complaints—including claims that fail to adhere to the Court’s direction

    to avoid shotgun pleading, claims that are not viable under various State laws, and/or claims that

    are preempted. Defendants have sought to avoid duplication and to structure their briefs in the

    most efficient manner possible, but Plaintiffs have chosen to sue almost 100 Defendants,

    categorized into five separate Defendant groups, and have included more than 2,900 legal counts

    pleaded under numerous state laws. Moreover, although some legal issues Defendants propose

    to raise are similar to those addressed in the last round of motions, that is the result of Plaintiffs’

    failure to cure those defects, requiring a further round of briefing. And the Court expressly

    deferred deciding certain legal issues until this round of briefing and directed the parties to

    provide further briefing on those issues. See, e.g., Dkt. 2513, pp. 38–39; Dkt. 2532, pp. 25–26,

    27 n.9. On top of that, there are substantial legal issues (such as a RICO claim) that the parties

    did not address at all in the prior motions. Plaintiffs’ proposal attempts to severely restrain both

    the number of briefs and page limits for differently-situated Defendants, and would hamstring

    Defendants’ rights to fairly and adequately raise challenges to Plaintiffs’ Complaints.

            Defendants provide a brief summary of their proposed approach. Motions on Behalf of

    All Defendants. Defendants propose to file two “omnibus” motions to dismiss on behalf of all

    Defendants: one directed to the Amended Master Personal Injury Complaint (the “AMPIC”), and

    the other collectively addressing both Amended Master Class Complaints. These motions will

    raise pleading deficiencies—including continued impermissible shotgun pleading, failure to
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    follow the Court’s directives in its 12/31/20 and/or 1/8/21 Orders concerning re-pleading, and

    Twombly/Iqbal deficiencies—and the non-viability of certain claims under various state laws, as

    well as other applicable defenses. In order to address all of these issues in an “omnibus” fashion,

    including the state law issues that require individualized treatment, Defendants have requested

    45 pages for their omnibus motion addressed to the AMPIC and 40 pages for their omnibus

    motion addressed to the Amended Master Class Complaints.1

             In addition, the Amended Master Class Complaints raise issues concerning personal

    jurisdiction, venue, and Lexecon issues. Defendants hope to resolve these issues by agreement

    with Plaintiffs, but do not wish to invite waiver arguments and request leave to file a single brief

    of no more than 25 pages on behalf of all Defendants addressing these issues, if necessary.

             Motions on Behalf of Particular Defendant Groups. As with the last round of briefing,

    Defendants also propose to file certain motions that are specific to particular Defendant groups.

    Each of these groups has unique arguments based on their different involvement with ranitidine,

    different applicable law, and different claims and allegations asserted against them. These

    groups should have an opportunity to file individual briefs to protect their separate interests.

    Defendants believe this organized structure would assist the Court and the parties in addressing

    these complex, multiple issues. It would be unwieldy and impracticable to require (as Plaintiffs

    propose) all Defendant-specific issues to be raised in common briefs; such a structure would

    require those briefs to have page limits far in excess of those proposed above. Defendants

    therefore propose to file the following briefs on behalf of particular Defendant groups:

        •    Brand Defendants collectively may file one brief of up to 20 pages on preemption issues

             across all Amended Master Complaints.


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      As with the prior round of briefing, Defendants request leave to submit reply briefs that do not exceed one-half the
    length of the corresponding opening brief.

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       •   Brand Defendants collectively may file one brief of up to 20 pages addressed to the

           RICO count in the Consolidated Amended Consumer Economic Loss Class Action

           Complaint (which is asserted only against the Brand Defendants).

       •   Brand Defendants collectively may file one brief of up to 20 pages on the counts in the

           AMPIC invoking an “innovator liability” theory.

       •   Generic Manufacturer Defendants collectively may file one brief of up to 35 pages

           addressing preemption issues across all Amended Master Complaints.

       •   Each of the Retailer Defendants, Distributor Defendants, and Store Brand Defendants

           may file one brief of up to 20 pages (i.e., three briefs in total) addressing any Amended

           Master Complaint’s failure to state a claim as to each such Defendant group.

           Personal jurisdiction motions. Certain foreign defendants that have been served with

    process but have not entered into stipulations with Plaintiffs concerning the terms for dismissal

    intend to file motions challenging personal jurisdiction. Plaintiffs and Defendants have agreed

    that these parties may file a single consolidated brief of up to 20 pages, with 20 pages for the

    opposition and 10 pages for the reply.

           Finally, Defendants wish to reiterate that—notwithstanding the critical need for separate

    briefs for differently situated defendants—they will work collaboratively to streamline briefing

    to the extent possible. For example, as with the last round of briefing, where appropriate,

    Defendants will cross-reference and/or incorporate by reference arguments raised in other briefs

    to avoid duplication. Moreover, Defendants welcome the Court’s guidance as to whether the use

    of summary charts or appendices concerning individual state law issues, where feasible, would

    be appropriate. We thank the Court for its consideration of our proposal.




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    Dated: March 3, 2021

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